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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Quarters Services USA, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Medici Living Services US LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1261 Broadway, Suite 405
                                  New York, NY 10001
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Quarters Services USA, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




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Debtor   Quarters Services USA, LLC                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Quarters Services USA, LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 15, 2021
                                                  MM / DD / YYYY


                             X   /s/ Rui Barros                                                           Rui Barros
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President and Chief Executive Officer




18. Signature of attorney    X   /s/ David S. Catuogno                                                     Date January 15, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David S. Catuogno DSC-1397
                                 Printed name

                                 K&L Gates LLP
                                 Firm name

                                 One Newark Center
                                 10th Floor
                                 Newark, NJ 07102
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973-848-4023                  Email address      david.catuogno@klgates.com

                                 NJ 040511990 & SDNY DC1397 NY
                                 Bar number and State




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Debtor     Quarters Services USA, LLC                                                       Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                   Chapter      7
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Medici 1150 N. American Street LLC                                      Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known
Debtor     Medici 171 N. Aberdeen LLC                                              Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known
Debtor     Medici 186 N. 6th LLC                                                   Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known
Debtor     Medici 251 Dekalb LLC                                                   Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known
Debtor     Medici 320 Florida LLC                                                  Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known
Debtor     Medici 326 Grand LLC                                                    Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known
Debtor     Medici 629 E. 5th LLC                                                   Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known
Debtor     Medici 890-911 Jefferson Avenue LLC                                     Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known
Debtor     QUARTERS Properties USA, Inc., f/k/a Medici Living, Inc.                Relationship to you               Affiliate
District   Southern District of New York              When                         Case number, if known




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                         CERTIFICATE OF LLC RESOLUTION OF
                                Quarters Services USA, LLC
                           (a Delaware Limited Liability Company)

                                         January 15, 2021


        THE UNDERSIGNED, being the sole Officers (the “Officers”) of Quarters Services USA,
LLC, a Delaware limited liability company (the “Company”), duly authorized by written consent
of Quarters Digital Services GmbH, the sole member of the Company (the “Member”) to do and
perform any and all such acts, including execution of any and all documents, contracts, and
certificates, as the Officers deem necessary or advisable, hereby execute and adopt, by this
Certificate of LLC Resolution, the following resolutions with the same force and effect as if they
had been adopted by a duly convened meeting of the Member:

      WHEREAS, the Member of the Company has reviewed the materials presented by the
management and the advisors of the Company regarding the liabilities and liquidity situation of
the Company, the strategic alternatives available to it, and the impact of the foregoing on the
Company’s business;

       WHEREAS, the Member of the Company has had the opportunity to consult with the
management and the advisors of the Company and fully consider each of the strategic alternatives
available to the Company;

        RESOLVED, that in the judgment of the Member of the Company, it is desirable and in
the best interests of the Company, its creditors and other parties in interest, that the Company file
or cause to be filed a voluntary petition for relief under the provisions of chapter 7 of the
Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”); and

       RESOLVED, that any of the Officers as may be designated by the Member of the
Company (collectively, the “Authorized Officers”), acting alone or with one or more other
Authorized Officers be, and they hereby are, authorized and empowered to execute and file on
behalf of the Company all petitions, schedules, lists, motions, applications, pleadings and other
papers or documents as necessary to commence the case and obtain relief under chapter 7 of the
Bankruptcy Code, and to take any and all further acts and deeds that they deem necessary, proper
and desirable in connection with the chapter 7 case, with a view to the successful prosecution of
such case; and

        RESOLVED, that the Authorized Officers be, and they hereby are, authorized and directed
to employ the law firm of K&L Gates LLP as general bankruptcy counsel to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the Company’s rights and obligations, including filing any pleadings; and in connection
therewith, the Authorized Officers are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon filing of the chapter
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7 case and cause to be filed an appropriate application for authority to retain the services of K&L
Gates LLP; and

        RESOLVED, that the Authorized Officers be, and they hereby are, authorized and directed
to employ any other professionals to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, the Authorized Officers are hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers prior to or
immediately upon the filing of the chapter 7 case and cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary; and

        RESOLVED, that all of the acts and transactions relating to matters contemplated by the
foregoing resolutions of the Member of the Company, in the name and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken prior to the execution of these resolutions, are hereby in all respects confirmed, approved
and ratified.

       IN WITNESS WHEREOF, the undersigned has executed this Certificate of LLC
Resolution as of the date first written above.



  /s/ Barbara Albert                                /s/ Rui Barros
 Name: Barbara Albert                             Name: Rui Barros
 Title: Secretary                                 Title: President and Chief Executive Officer
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                           BRANDON NICASTRO
                           PO BOX 82572
                           GOLETA, CA 93118-2572


                           INDEMNITY INS. CO. OF NA
                           436 WALNUT STREET
                           PHILADELPHIA, PA 19106


                           LOGISTICS PLUS, INC.
                           1406 PEACH STREET
                           ERIE, PA 16501


                           LORI ALBERT
                           10828 E. CRESTRIDGE CIRCLE
                           ENGLEWOOD, CO 80111


                           NORTHEAST BANK
                           200 BERKELEY STREET, 17TH FLR
                           BOSTON, MA 02116


                           RUI BARROS
                           40 DOGWOOD LANE
                           SANDS POINT, NY 11050


                           SIGHTHOUND SEARCH PARTNERS
                           ATTN.: JAMES DELL'OLIO
                           747 THIRD AVENUE, 2ND FLOOR
                           NEW YORK, NY 10017


                           YARDI MATRIX
                           430 S. FAIRVIEW AVENUE
                           GOLETA, CA 93117


                           ZURICH AMERICAN INS. CO.
                           1299 ZURICH WAY
                           SCHAUMBURG, IL 60196
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Quarters Services USA, LLC                                                                 Case No.
                                                                                  Debtor(s)            Chapter     7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Quarters Services USA, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Quarters Digital Services GmbH




    None [Check if applicable]




 January 15, 2021                                                     /s/ David S. Catuogno
 Date                                                                 David S. Catuogno DSC-1397
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Quarters Services USA, LLC
                                                                      K&L Gates LLP
                                                                      One Newark Center
                                                                      10th Floor
                                                                      Newark, NJ 07102
                                                                      973-848-4023 Fax:973-848-4001
                                                                      david.catuogno@klgates.com




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